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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------x

UNITED STATES OF AMERICA,

                 -against-                                         23-CR-82 (EK)

CARLOS WATSON, and
OZY MEDIA INC.,

                             Defendants.


-------------------------------------------------x

            UNOPPOSED MOTION OF WILLIAM A. BURCK TO ENTER A
       LIMITED APPEARANCE ON BEHALF OF DEFENDANT CARLOS WATSON

          Non-party William A. Burck of Quinn Emanuel Urquhart & Sullivan, LLP, on his own

 behalf, respectfully moves this Court for leave (1) to enter a limited appearance on behalf of

 Defendant Carlos Watson solely for the purpose of assisting counsel of record in representing Mr.

 Watson at his bail hearing, currently scheduled for August 9, 2024; and (2) to withdraw his limited

 appearance at his option after the Court’s resolution of the bail hearing. Mr. Burck certifies that

 he is admitted to practice in the Eastern District of New York.

          Mr. Burck has met and conferred with the Government, who do not oppose this Motion to

 Enter A Limited Appearance on Behalf of Defendant Carlos Watson.
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Dated: August 8, 2024                    Respectfully submitted,

                                         /s/ William A. Burck
                                         William A. Burck
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                                         Washington, D.C. 20005
                                         (202) 538-8000
                                         williamburck@quinnemanuel.com

                                         Attorney for Defendant Carlos Watson
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                               CERTIFICATE OF SERVICE

       I, William A. Burck, certify that the foregoing instrument was electronically filed with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

counsel of record at their respective email addresses on this 8th day of August, 2024.



       Dated: August 8, 2024                                        /s/ William A. Burck
